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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH

CYNTHIA STELLA, and the ESTATE OF                 PLAINTIFFS’ MEMORANDUM IN
HEATHER MILLER,                                   OPPOSITION TO DEFENDANTS’
                                                  MOTION IN LIMINE REGARDING NON-
       Plaintiffs,                                DISCLOSURE OF DAMAGE
                                                  COMPUTATIONS (ECF 86)

v.                                                Case No: 1:18-cv-002


DAVIS COUNTY, SHERIFF TODD
RICHARDSON, MAVIN ANDERSON,                       Judge: Jill Parrish
JAMES ONDRICEK,
       Defendants.


                                      INTRODUCTION

       Defendants knew from the very start of the matter that Plaintiffs intended to pursue at

least $3,000,000 in non-economic damages. Plaintiffs indicated as much in their originally Rule

26 Disclosure. Other than to request evidence of “pain and suffering”, Defendants conducted no


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discovery into the computation for non-economic damages. Throughout the multi-year history of

the case, Defendants never argued, as they do know, that Rule 26 now required a computation

because Plaintiffs proposed a specific figure for hedonic harm.

         Defendants’ objection was never raised as an issue until November 19, 2021, when in

preparation for the upcoming trial, Plaintiffs supplemented their initial disclosures to identify

they will make a per diem argument on their claims for hedonic damages. Plaintiffs had

previously disclosed that their claims for non-economic damages would exceed $3,000,000 but

did not otherwise provide expound on the damages theory because Rule 26 does not require a

computation for non-economic damages. That is because hedonic damages "may not be

amenable to the kind of calculation disclosure contemplated by Rule 26(a)(1)[ (A)(iii) ].”

Williams v. Trader Pub. Co., 218 F.3d 481, 486 n.3 (5th Cir. 2000). Though not required,

Plaintiffs still disclosed their per diem argument for Defendants’ benefit.

         Now, two months later, Defendants argue Plaintiffs should be precluded from

“suggesting to the jury a specific sum of money to award to them as their general and/or punitive

damages” because they do not have a computation.1 But Defendants already have the

computation. Plaintiffs have disclosed they intend to seek at least $3,000,000 in hedonic

damages and that loss of life will be calculated on with a per diem argument premised on

Miller’s life expectancy (53.88 years). The equation is (value of year of life) x 53.88 years for

hedonic damages, with a year of life valued greater than or equal to $56,603.77 (for a total of

$3,000,000).


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 Defendants also request that Plaintiffs be barred from pursuing damages for funeral costs and loss of support.
Plaintiffs have abandoned these categories of damages and stipulates to the relief.

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        Consequently, there is no reason to exclude Plaintiffs’ ability to even suggest a number to

the jury. And even if Defendants have suffered some prejudice, it can all be cured through the

Court’s recent re-opening of fact discovery and continuance of trial.

                                            ARGUMENT

   I.      Plaintiffs were not required to produce any better a computation for non-economic
           damages, including hedonic damages.

        Rule 26 requires plaintiffs to provide a computation of damages. Providing such a

computation for economic damages is generally a straightforward path. Non-economic losses,

however, are another matter entirely. “Since compensatory damages for emotional distress are

necessarily vague and are generally considered a fact issue for the jury, they may not be

amenable to the kind of calculation disclosure contemplated by Rule 26(a)(1)[ (A)(iii).” Williams

v. Trader Pub. Co., 218 F.3d 481, 486 n.3 (5th Cir. 2000).

        The Tenth Circuit has recognized the same, noting:

        Attempts to quantify the value of human life have met considerable criticism in the
        literature of economics as well as in the federal court system. Troubled by the disparity of
        results reached in published value-of-life studies and skeptical of their underlying
        methodology, the federal courts which have considered expert testimony on hedonic
        damages in the wake of Daubert have unanimously held quantifications of such damages
        inadmissable.

Smith v. Ingersoll-Rand, Co., 214 F.3d 1235, 1245 (10th Cir. 2000).

        Due to the non-concrete nature of non-economic damages, particularly damages for loss

of consortium and hedonic damages, courts have regularly refused to allow even experts to

testify regarding the monetary value of life lost. See Herrera v. City of Roswell, 2013 U.S. Dist.

LEXIS 196366 (D. NM 2013) (“Plaintiff expert economist shall not be permitted to provide any

opinions regarding any dollar values or range of values attributable to a statistical life or the life

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of the decedent.”); Smith v. Auto-Owners Insurance Company, 2017 U.S. Dist. LEXIS 115937

(D. N.M. 2017) (“The Tenth Circuit and numerous cases from this District have excluded expert

testimony on hedonic damages from an economist who attempts to testify to a specific dollar

figure, benchmark figures, or a range of values to be used in calculating such damages”).

       Yet while experts are unqualified to calculate the value of a life, Defendants propose that

Plaintiffs, lay people, must create an equation that provides for such a computation. Courts are,

as Defendants admit, conflicted on the issue, but the better path is to find Rule 26 does not

require a computation of non-economic damages. Tom v. Sherman Bros. Heavy Trucking, 2013

U.S. Dist. LEXIS 192701 (D. NM 2013) (excluding testimony on life but allowing counsel to

propose a number during closing); Lucas v. Transamerica Life Ins. Co., No. 5:10-CV-76-KKC,

2011 WL 5148883, at *1 (E.D. Ky. Oct. 21, 2011) (requiring Plaintiffs to merely identify an

amount—either a specific sum or a range—to be sought as to each non-economic category).

Providing a number sufficiently puts defendants on notice as to the relative value of the claim.

       The same applies to Plaintiffs’ claims for punitive damages. Defendant complains that

punitive damages have not been computed, but calculating punitive damages is firmly within the

jury’s province. Juries are allowed to consider multiple factors, including the defendants’ net

worth, when determining a punitive damages award. Because all pertinent information is not

held by the plaintiff (i.e. net worth), courts have generally refused to compel computations of

punitive damages. See Breen v. Black, No. 15-CV-0168, 2016 WL 4268957, at *7 (D. Wyo. July

6, 2016) (“Courts typically do not require computations for punitive damage because they are

difficult to quantify”); McCrary v. Country Mut. Ins. Co., No. 13-CV-507-JED-PJC, 2014 WL

314777, at *2 (N.D. Okla. Jan. 28, 2014).

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   II.      To the extent further disclosure was required and Defendants suffered prejudice,
            any prejudice can be cured where the Court has granted Defendants’ request to
            reopen discovery and the trial has been continued.

         If Plaintiffs’ disclosure was untimely or deficient, the Court should still allow Plaintiffs;

damage theories because the delay was “harmless”. Fed. R. Civ. P 37(c)(1). When weighing

harm, the 10th Circuit has advised courts to consider “the prejudice of surprise to the party

against whom the testimony is offered” and “the ability of the party to cure the prejudice”.

Woodworker's Supply, Inc. v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999).

Defendants do not allege any specific prejudice caused, but to the extent some exists, re-opening

discovery provides a sufficient opportunity to cure the prejudice. See Woodworker's Supply, Inc,

170 F.3d at 993 (the Tenth Circuit upheld trial court’s decision not to exclude new damage

theory, noting court gave the prejudiced party “a significant opportunity to cure any resulting

prejudice by cross-examining Mr. Wirth outside the presence of the jury”.).

                                           CONCLUSION

         Plaintiffs respectfully request that the Court deny the motion in limine and not exclude

Plaintiffs’ theories on damages.

         DATED this 4th day of January, 2021.

                                                        BACZYNSKI LAW, PLLC
                                                        /s/ Daniel Baczynski
                                                        Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I certify that on this January 5, 2022, I caused PLAINTIFFS’ MEMORANDUM IN

OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE REGARDING NON-

DISCLOSURE OF DAMAGE COMPUTATIONS (ECF 86) to be filed with the Court

through its ECF filing system, with service provided to the following:

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                                                    /s/     Daniel Baczynski




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